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                             Exhibit 3
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       450 5th Street NW, Washington, D.C. 20530



                                                              November 8, 2023




      Re:     United States, et al. v. Google LLC, No. 1:23-cv-00108-LMB-JFA (E.D. Va.)

      Dear Julia:

             I write further to our agreement to provide written responses in lieu of testimony in
      connection with Topics 25 and 26 (as narrowed) of Plaintiffs' 30(b)(6) Deposition Notice to
      Google LLC ("Google") dated August 9, 2023. Google reserves the right to supplement these
      responses as necessary.

      Topic 25

              Google agreed to provide (a) its Chat retention policies for the period from January 1,
      2016 to the present (or, if no retention policy specific to Chat was in effect during parts of that
      period, its general document retention policy during those parts of that period); (b) a chart
      indicating when a litigation hold for the Investigation or Litigation was issued to each custodian;
      and (c) a written response on Topic 25(c), narrowed as follows: "whether, when, and in what
      circumstances Google suspended its 24-hour auto-delete policy for chat messages for chat
      messages related to this Investigation or Litigation."

             With respect to subpart (a), Appendix A to this letter contains a chart identifying by
      Bates number Google's retention policies applicable to Google Chat for the period from January
      1, 2016 to the present.
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             With respect to subpart (b), Appendix B to this letter contains the responsive
      information.

              With respect to subpart (c), the retention period for Google Chat depends on the history
      setting of a particular message. See Appendix A. Further, Google implemented a process on
      February 8, 2023, for custodians on legal hold in this matter, whereby all Google Chats,
      regardless of the subject matter of the discussion, were set to "history on" moving forward and
      automatically preserved for so long as the legal hold is in place.

      Topic 26

              Pursuant to the parties' agreement on Topic 26, and the court's subsequent ruling, ECF
      No. 376, Google has agreed to provide a written response describing, based on a reasonable
      inquiry: (a) for each of the Covered Employees (as defined below): (i) whether the employee
      used Chat to discuss matters relevant to this case; and (ii) the employee's Chat history setting at
      times when the employee discussed matters relevant to this case; and (b) any non-privileged
      direction or statements that Google provided to its employees about conducting chats with
      "history off."

              For purposes of Topic 26, "Covered Employees" means the 35 individuals whom
      Plaintiffs identified in their September 11, 2023 letter and are listed in Appendix C. Although
      defined as "Covered Employees," Plaintiffs' list comprises 26 current employees and 9 former
      employees.

             Google has contacted each of the Covered Employees, of which 33 provided responsive
      information.' This letter reports infonnation Google collected from the 33 Covered Employees.

          1. Topic 26(a)(i): Case-Relevant Google Chat Usage

             Out of the 33 Covered Employees who provided responsive information, 17 reported that
      it was not their regular practice to use Chat for substantive communications related to ad tech,
      and 16 reported sometimes using Chat for substantive communications related to ad tech
      between January 2014 and the present. 2


      1
        Google made a reasonable inquiry and endeavored to obtain responsive information from all 35 Covered
      Employees. One former employee, through his counsel, declined to provide responsive information. Google is still
      working to obtain a response from one other Covered Employee and will provide a supplement to this letter as
      necessary.
      2 The Covered Employees that reported sometimes using Chat for substantive communications regarding ad tech are

      Jonathan Bellack, Brad Bender, Jerry Dischler, John "Duke" Dukellis, Jim Giles, Pooja Kapoor, Roshan Khan,
      Nitish Korula, Lisa Lehman, Max Loubser, Tobias Maurer, Payam Shodjai, Vlad Sinaniyev, Scott Spencer, Sam
      Ternes, and Debbie Weinstein.
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           Nine of the 16 Covered Employees recalled sometimes using Chat for substantive
      communications relating to ad tech after receiving a legal hold notice relating to this matter.3

           2. Topic 26(a)(ii): Case-Relevant Chat History Setting
            Of the nine Covered Employees who recalled having used Chat for substantive
      communications relating to ad tech after receiving a legal hold relating to this matter, one
      Covered Employee4 reported that he regularly toggled the Chat history setting to "history on"
      when discussing matters related to a legal hold.

           3. Topic 26(b): Non-Privileged Chat History Setting Direction or Statements
              Topic 26(b) (as narrowed) seeks "any non-privileged direction or statements that Google
      provided to its employees about conducting chats with 'history off."' Google has made a good
      faith attempt, following a reasonable inquiry, to ascertain "direction or statements" about
      communicating via Chat with history off and identifies the following: Google's retention policies
      (see Appendix A) provide information on how long Chat is retained, whether a message is sent
      with history on or history off In a communications training previously provided to Google
      employees, a module regarding whether to send an email when angry or tired contained a
      multiple choice question; one (incorrect) answer was: "Don't send the email. Chat 'off the
      record' via Hangouts instead."

                                                                    Sincerely, ~~

                                                                    Eric Mahr




      3 The other seven Covered Employees had transitioned out of positions involving work on Google's ad tech business

      and into positions in Alphabet, Inc. or Google business segments not involving ad tech before they received legal
       hold notices relevant to this case. These seven Covered Employees include: Jonathan Bellack (on legal hold
      October 4, 20 19; transitioned from Director of Product Management, Publisher Ad Platforms at Google to Director
      of Product at Jigsaw (another subsidiary of Alphabet, Inc.) in January 20 19), Jjm Giles (on legal hold January 22,
      2021; transitioned from Engineering Director, Google Ad Manager and AdSense to Engineering Director, Google
       Drive in January 2019). Pogja Kapoor (on legal hold October 4, 20 19; transitioned from Head of Global Strategy,
      Programmatic, and Ecosystem Health to Head of GDPR & Data Tmst in April 20 I8), Roshan Khan (on legal hold
      January 22, 202 1; transitioned from Group Product Manager, DV360 to Group Product Manager, Android Auto in
      January 2020), Lisa Lehman (on legal hold January 22, 202 1; transitioned from Strategic Partner Lead, News &
      Magazines to Strategic Partner Manager, Global News Product Partnerships in April 2018), Max Loubser (on legal
      hold January 22, 202 I; transitioned from Senior Product Manager, Display & Video Advertising to Senior Product
      Manager, YouTube in May 20 18), and Payam Shodjaj (on legal hold January 22, 202 I; transitioned from Senior
      Director, Product Management, Display and Video Ads to Senior Director, Product Management, Google Assistant
      in December 20 I 9).
      4
        Nitish Korula.
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                                               APPENDIX A

                Retention policies applicable to Google Chat (January 1, 2016 to the present)



       Policy                                   Time Period            Beginning Bates

       Gmail Retention Policy                   August 21, 20 I 5 -    GOOG-AT-MDL-009709510
                                                February 25, 2021
       Google Chat Retention Policy             November 18, 2020 -    GOOG-AT-MDL-009709520
                                                February 25, 2021
       Google Chat Retention Policy             February 26, 202 1 -   GOOG-AT-MDL-009709508
                                                September 30, 202 1
       Google Chat Retention Policy             October 1, 202 1 -     GOOG-AT-MDL-009709522
                                                December 7, 202 1
       Google Chat Retention Policy             December 8, 2021 -     GOOG-AT-MDL-009709506
                                                May 16, 2023
       Google Chat Retention Policy             May 17, 2023 -         GOOG-AT-MDL-009709518
                                                Present (Current
                                                Policy)
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                                                      APPENDIX B



                                  Custodian Name                  Date Hold Notice 1ssued5
                           Sergio Abreu                                                Feb 3, 2021
                           Daniel Alegre                                              June 2, 2020
                          Kate Alessi                                                  Feb 3, 2021
                          Anthony Altimari                                           May 25, 2023
                          Ali Nasiri Amini                                             Feb 3, 2021
                          Yip Andleigh                                                Jan 22, 2021
                          Nikesh Arora                                                 Dec 5, 2019
                          Ajay Bangla                                                May 25, 2023
                          Bethanie Baynes                                             Jan 22, 202 1
                          Karen Aviram Beatty                                         Jan 22, 2021
                          Jonathan Bellack                                             Oct 4, 20 19
                          Brad Bender                                                  Oct 4, 2019
                          Glenn Berntson                                             Sept 20, 2022
                          David Besbris                                               Jan 22, 2021
                          Deepti Bhatnagar                                            Jan 22, 202 1
                          Jason Bigler                                                 Oct 4, 20 19
                          C hetna Bindra                                              Jan 22, 2021
                          Jeff Birnbaum                                                Feb 3, 202 1
                          Simon Bolger                                              May 25, 2023
                          Joan Braddi                                                 Jan 22, 2021
                          Drew Bradstock                                              Jan 22, 202 1
                          Amin Charaniya                                               Feb 3, 202 1
                          Anthony Chavez                                              Jan 22, 2021


      l A legal hold was implemented for some custodians after they left Google.   For those custodians, we have provided
      the date that the hold was implemented.
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                         Custodian Name         Date Hold Notice Issued5
                   Julie Chen                                  Feb 3, 2021
                   Susan Childs                               Jan 22, 202 1
                   Mary Ellen Coe                             Jan 22, 2021
                   Josh Cohen                                June 22, 2020
                   Christophe Combette                       June 12, 2023
                   Matthew Conroy                             Jan 22, 2021
                   Erin Corkins                              May 25, 2023
                   Sam Cox                                     Oct 4, 2019
                   Marcel Crasmaru                             Feb 3, 2021
                   Tim Craycraft                             Sept20, 2022
                   Jerry Dischlcr                             Jan 22, 202 1
                   Katie (Baxter) Dodson                     May 25, 2023
                   Sean Downey                                Jan 22, 202 1
                   John "Duke" Dukellis                       Jan 22, 2021
                   Sam Franklin                              May 25, 2023
                   Rudy Galfi                                 Jan 22, 2021
                   Haskel I Garon                             Jan 22, 2021
                   Kristen Gil                                Feb 3, 2021
                   Jim Giles                                  Jan 22, 202 1
                   Richard Gingras                           Jan 22, 2021
                   Chris Gklaros-Stavropoulos                Jan 22, 2021
                   Matthew Glotzbach                        June 22, 2020
                   Eu-Jin Goh                                 Jul26, 2023
                   Joanna Zimelis Goldblatt                   Apr 3, 2023
                   Eve Goldman                                Feb 3, 2021
                   David Goodman                             Jan 22, 2021
                   Jerome Grateau                            Jan 22, 202 1
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                         Custodian Name     Date Hold Notice lssued 5
                   Anna Grodecka-Grad                    Sept26, 2023
                   Chip Hall                              Jan 22, 202 1
                   K. Marco Hardie                         Apr 3, 2023
                   Donald Harrison                         Oct 4, 2019
                   Sean Harrison                           Apr 3, 2023
                   Rob Hazan                               Aug 6, 2020
                   Joerg Heilig                           Jan 29, 202 1
                   Sissie Hsiao                            Oct4,2019
                   Ninnal Jayaram                         Jan 22, 2021
                   Darline Jean                          June 12, 2023
                   Adam Juda                              Jan 22, 202 1
                   Bashar Kachachi                        Jan 22, 2021
                   Kishore Kanakamedala                   Feb 21, 2020
                   Pooja Kapoor                            Oct4,2019
                   Roshan Khan                            Jan 22, 202 1
                   Woojin Kim                             Jan 22, 202 1
                   Jennifer Koester                       Jan 22, 202 1
                   Martin Kon                              Feb 3, 202 1
                   Rahul Kooverjec                       May 25, 2023
                   Omid Kordestani                        Feb. 4, 2020
                   Nitish Korula                           Oct 4, 20 19
                   Gabe Kronstadt                         Feb 10, 202 1
                   Suresh Kumar                           June 2, 2020
                   Robert Kyncl                           Jan 22, 202 1
                   Sue Lai                               Sept25, 2023
                   Tript Singh Lamba                      Jan 22, 202 1
                   Chris LaSala                           Jan 22, 202 1
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                         Custodian Name     Date Hold Notice lssued5
                   Lisa Lehman                            Jan 22, 202 1
                   George Levine                          Jan 22, 2021
                   Max Lin                                Jan 22, 202 1
                   Eisar Lipkovitz                       June 22, 2020
                   Tim Lipus                             Feb 23, 2023
                   Max Loubser                            Jan 22, 2021
                   Tobias Maurer                          Jan 22, 2021
                   Chris Maxcy                            Jan 22, 202 1
                   Stuart May                             Jul 26, 2023
                   Ali Miller                             Jan 22,202 l
                   Jason Miller                            Feb 3, 2021
                   Giulio Minguzzi                        May 3, 2023
                   David Mitby                            Jan 22, 202 1
                   Neal Mohan                            Apr 27, 2023
                   Jessica Mok                           Feb 23, 2023
                   Paul Muret                             Jan 22, 2021
                   Elissa Murphy                          Feb 3, 202 1
                   Sagnik Nandy                           Mar 8, 202 1
                   Jon Newmuis                            Jul26,2023
                   Rany Ng                                Jan 22, 2021
                   Ali Nouri                             June 14, 2023
                   Kristen O'Hara                       June 12, 2023
                   Martin Pal                             Jan 22, 2021
                   Thomas Pan                             Jul 26, 2023
                   Aparna Pappu                           Jan 22, 202 1
                   Peentoo Patel                         Sept20,2022
                   Bonnie Pericolosi                      Jan 22, 202 1
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                      Custodian Name       Date Hold Notice Issued~
                Igor Perisic                            Oct 16, 2023
                Shane Peros                              Jan 22, 2021
                Kirk Perry                               Jan 22, 2021
                Sundar Pichai                            Oct 4, 2019
                Barbara Piermont                         Jan 22, 2021
                Arthur Price                             Feb 3, 2021
                Prabhakar Raghavan                       Oct4,2019
                Alyssa Raiola                            Apr 3, 2023
                Sridhar Ramaswamy                       Nov. 4, 2019
                Vinay Rao                                Feb 3, 2021
                Vivek Rao                                Jan 22, 2021
                Rita Ren                                May 23, 2023
                Nicky Rettke                           June 12, 2023
                Sarah Rock                             May 25, 2023
                Dave Rolefson                            Jan 22, 2021
                Danielle Romain                          Jan 22, 2021
                Cou1tney Rose                           May 25, 2023
                Bryan Rowley                             Jan 22, 202 1
                Nathalie Sajous                         May 25, 2023
                Karen Sauder                             Mar 8, 2021
                Erin Schaefer                           Jan 29, 202 1
                Philipp Schindler                        Oct 4, 2019
                Mike Schulman                            Oct 4, 2019
                Jasper Seldin                           Jan 22, 2021
                Jayavel Shanmugasundaram                Jan 22, 2021
                Vishal Shanna                           Jan 22, 2021
                Scott Sheffer                            Feb 3, 2021
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                       Custodian Name    Date Hold Notice Issued5
                 Alex Shellhammer                      Jan 22, 202 1
                 Lior Shenkar                          Mar 3, 2022
                 Steven Shin                          May 23, 2023
                Payam Shodjai                          Jan 22, 2021
                 Scott Silver                          Jan 22, 2021
                Vlad Sinaniyev                         Jan 22, 2021
                 Selin Song                           June 12, 2023
                 Scott Spencer                         Jan 22, 2021
                Jason Spero                            Jan 22, 2021
                 Rahul Srinivasan                      Jan 22, 2021
                Yidhya Srinivasan                      Jan 22, 2021
                Sarah Stefaniu                         Apr 3, 2023
                Adam Stewart                           Mar 8, 202 1
                Bonita Stewart                          Oct 4, 2019
                Gargi Sur                              Jan 22, 2021
                Dan Taylor                             Jan 22, 2021
                Sam Ternes                             Jan 22, 2021
                Sneha Thomas                         June 12, 2023
                Glenn Thrope                          Feb 23, 202 1
                Allan Thygesen                        Jan 22, 2021
                Christoper Tignor                    June 14, 2023
                John Tobler                            Feb 3, 2021
                Malte Ubl                             Jan 22, 2021
                Kai Umezawa                          June 12, 2023
                Shashi Upadhyay                      June 12, 2023
                Jyoti Yaidee                          Jan 22, 2021
                Marshall Vale                         Jan 22, 2021
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                       Custodian Name    Date Hold Notice Issued5
                Jay YanDerzee                          Mar 3, 2022
                 Hal Varian                            Jan 22, 202 1
                 Medha Vedaprakash                     Jan 18, 2023
                Casper Yerhoofstad                    May 25, 2023
                Alok Venna                             Jan 22, 202 1
                 Luis Vilela                           Feb 3, 2021
                 Madhu Vudali                          Jan 22, 202 1
                Jason Washing                          Jan 22, 202 1
                Debbie Weinstein                       Jan 22, 2021
                Mike Westervelt                      May 25, 2023
                Kristin Wiechmann                     Jan 22, 202 1
                Susan Wojcicki                         Oct 4, 20 19
                Noam Wolf                              Oct 4, 2019
                Meghan Zidar                         May 25, 2023
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                                                     APPENDIXC

    On September 11, 2023, Plaintiffs identified the following 35 employees as "Covered
    Employees" for Google's written response to Topic 26 of Plaintiffs' 30(b)(6) Notice 6 :

           1) Jonathan Bellack*
           2) Brad Bender*
           3) Deep ti Bhatnagar
           4) Jason Bigler*
           5) Sam Cox*
           6) Jerry Dischler
           7) Sean Downey
           8) John "Duke" Dukellis
           9) Jim Giles
           10) Don Harrison
           11) Jorg Heilig*
           12) Sissie Hsiao
           13) Nirmal Jayaram
           14) Pooja Kapoor
           15) Sanjay Kapoor
           16) Roshan Khan
           17) Woojin Kirn
           18) Nitish Konila
           19) Lisa Lehman
           20) Max Loubser
           21) Tobias Maurer
           22) Paul Muret
           23) Sagnik Nandy*
           24) Larry Page
           25) Sundar Pichai
           26) Shailesh Prakash
           27) Prabhakar Raghavan
           28) Sridhar Ramaswamy*
           29) Eric Schmidt*
           30) Payarn Shodjai
           31)Vlad Sinaniyev
           32) Scott Spencer*
           33) Sam Ternes
           34) Debbie Weinstein
           35) Susan Wojcicki



    6
        An asterisk(*) denotes former Google employees as of September 11, 2023.
